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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


KEVIN JAMES PRUDHOMME                            :          CASE NO. 2:19-CV-01085

VERSUS                                           :          JUDGE TERRY A. DOUGHTY

BROCK SERVICES LLC                               :          MAGISTRATE JUDGE KAY


                                         JUDGMENT

       The Report and Recommendation [Doc. No. 49] of the Magistrate Judge having been

considered, no objections thereto having been filed, and finding that same is supported by the law

and the record in this matter,

       IT IS ORDERED, ADJUDGED, and DECREED that the pending Motions to Dismiss

[Doc. Nos. 26 and 46] are GRANTED.

       IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Plaintiff’s claims

against Defendant Brock Services LLC are DISMISSED WITH PREJUDICE, with each party

to bear its own costs.

       MONROE, LOUISIANA, this 24th day of June 2022.




                                             _________________________________________
                                              Terry A. Doughty
                                               United States District Judge
